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THE ORD FIRM, P.C.
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Attorney for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 Trevor Kelley,                                 Case No.: 2:17-cv-00636-BCW

                  Plaintiff,
                                                NOTICE OF VOLUNTARY DISMISSAL
 v.
                                                WITHOUT PREJUDICE

 The Children's Place,
                                                Assigned to Honorable Brooke C. Wells
                  Defendant.


         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41 (a)(1)(A)(i)

and DUCivR 54-1(b) and (d), Plaintiff, Trevor Kelley, hereby voluntarily dismisses this Action

with prejudice.


         RESPECTFULLY submitted on this 10th day of January 2018.


                                                         /s/ James K. Ord, III
                                                         JAMES K. ORD, III, ESQ.
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                                                         Attorney for Plaintiff
    Case 2:17-cv-00636-BCW Document 5 Filed 01/10/18 PageID.18 Page 2 of 2




                                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of January 2018, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and caused a true
copy of the foregoing document to be served via U.S Mail upon the following recipients:


The Children's Place, Inc.
1189 River Bluffs Rd
Murray, UT 84123-6939
Defendant



/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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